     Case 4:14-cv-05114-TOR            ECF No. 1      filed 10/22/14     PageID.15 Page 1 of 8



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 7                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF WASHINGTON
 8
 9   Seth Cunha, on behalf of himself and all         NO.: 4:14-CV-5114
10
10   others similarly situated,
                                                      CLASS ACTION COMPLAINT
11
11                        Plaintiff                   FOR DAMAGES AND
                                                      INJUNCTIVE RELIEF
12
12   v.                                               PURSUANT TO 47 U.S.C. § 227,
13
13                                                    et seq. (TELEPHONE CONSUMER
     Bluestem Brands, Inc. d/b/a Fingerhut,           PROTECTION ACT)
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14
                          Defendant.                 Demand for Jury Trial
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             For this Class Action Complaint, Plaintiff, Seth Cunha, by and through his undersigned counsel,
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     pleading on his own behalf and on behalf of all others similarly situated, states as follows:
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20                                              INTRODUCTION

21
21           1.     Plaintiff, Seth Cunha (“Plaintiff”), brings this class action for damages resulting from the
22
22   illegal actions of Bluestem Brands, Inc. d/b/a Fingerhut (“Bluestem” or “Defendant”). Defendant
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23
     negligently, knowingly, and/or willfully placed automated calls to Plaintiff’s cellular phone in violation
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     of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).
25
25
             2.     Defendant is a privately held finance company that specializes in retail installment
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26
27
27   contracts.
     CLASS ACTION COMPLAINT                                                                    THOMAS MCAVITY
28                                                                                       2225 NE ALBERTA, STE A
                                                                                              PORTLAND OR 97211
                                                                                                Tel: 206-674-4559
                                                                                           Facsimile: 866.241.4176
     Case 4:14-cv-05114-TOR            ECF No. 1       filed 10/22/14     PageID.16 Page 2 of 8



 1            3.     As part of its servicing of retail installment contracts, Defendant uses automated dialing
 2   systems to bombard unsuspecting consumers who have no relationship with it with automated calls.
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             4.      Plaintiff is such a consumer and seeks relief for himself and all others similarly situated
 4
     for Defendant’s unlawful behavior.
 5
                                         JURISDICTION AND VENUE
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 7           5.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1331.

 8   Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740, 751-53 (2012).
 9           6.      Jurisdiction in this District is proper pursuant to 28 U.S.C. § 1332(d)(2), as Plaintiff seeks
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     up to $500 in damages for each violation of the TCPA, which when aggregated among a proposed class
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     numbering more than a thousand members, exceeds the $5,000,000.00 threshold for federal court
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13
13   jurisdiction. Plaintiff also alleges two national classes which will result in at least one class member

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14   residing in a different state.

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15           7.      Venue is proper in this District. Plaintiff resides in this District, and a significant
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     portion of the acts complained of here in took place in this District.
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                                                      PARTIES
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18
             8.      Plaintiff is, and at all times mentioned herein was, an adult individual residing in
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20   Walla Walla, Washington.

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21           9.      Plaintiff has never had a business relationship with Defendant and never consented to
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22   be contacted by Defendant on his cellular telephone.
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             10.     Defendant is, and at all times mentioned herein was, a Minnesota business entity
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24
     headquartered in Eden Prairie, Minnesota.
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27
     CLASS ACTION COMPLAINT                                                                     THOMAS MCAVITY
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     Case 4:14-cv-05114-TOR            ECF No. 1     filed 10/22/14    PageID.17 Page 3 of 8



 1                    THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
 2           11.     The TCPA regulates, among other things, the use of automatic telephone dialing
 3
     systems.
 4
             12.     47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system (“ATDS”) as
 5
     equipment having the capacity –
 6
 7                   (A)   to store or produce telephone numbers to be called, using a
                     random or sequential number generator; and
 8
                     (B)    to dial such numbers.
 9           13.     Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an ATDS or an
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     artificial or prerecorded voice to a cellular phone without prior express consent by the person being
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     called, unless the call is for emergency purposes.
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13                            ALLEGATIONS APPLICABLE TO ALL COUNTS

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14           14.     In or around September 2013, Defendant began placing calls to Plaintiff’s cellular

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15   telephone number, 509-xxx-4015.
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             15.     Defendant placed the calls to Plaintiff from number 855-636-3695.
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             16.     When answering Defendant’s calls, Plaintiff heard a period of silence before a live
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     representative came on the line. Each time, the representative would tell Plaintiff that Defendant was
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19
20
20   attempting to reach “Kevin”. Each time, Plaintiff would tell the representative that he did not know

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21   “Kevin”, and that he could not be reached at Plaintiff’s cellular phone number. Nonetheless, Defendant
22
22   continued to call Plaintiff.
23
23
             17.     Defendant obtained Plaintiff’s telephone number through unknown means.
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             18.     At no time did Plaintiff ever provide his cellular phone number to Defendant.
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25
             19.     At no time did Plaintiff ever enter into a business relationship with Defendant.
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26
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27           20.     At no time did Plaintiff provide Defendant with prior written consent allowing it to
     CLASS ACTION COMPLAINT                                                                    THOMAS MCAVITY
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     Case 4:14-cv-05114-TOR              ECF No. 1   filed 10/22/14     PageID.18 Page 4 of 8



 1   call his cellular phone.
 2            21.    The calls placed to Plaintiff’s cellular phone were made with an ATDS.
 3
              22.    Defendant employs an ATDS which meets the definition set forth in 47 U.S.C.
 4
     § 227(a)(1), and used its ATDS to make each of the aforementioned calls to Plaintiff on his cellular
 5
     phone.
 6
 7            23.    The Federal Communications Commission has defined ATDS, under the TCPA, to

 8   include “predictive dialers.” See In the Matter of Rules and Regulations Implementing the Telephone
 9   Consumer Protection Act of 1991, 23 F.C.C.R. 559, at ¶ 12, 2008 WL 65485 (F.C.C.) (2008).
10
10
              24.    Defendant’s telephone system has all the earmarks of a predictive dialer. When
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11
     Defendant called Plaintiff, there was a period of silence before Defendant’s telephone system would
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13
13   connect Plaintiff to live person.

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14            25.    Defendant’s calls to Plaintiff’s cellular telephone were not for “emergency purposes.”

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15                                       CLASS ACTION ALLEGATIONS
     A. The Classes
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17            26.    Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23 on behalf of

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18   himself and all others similarly situated.
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19            27.    Plaintiff represents, and is a member of the following classes:
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              Class A: All persons within the United States who received any telephone calls
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21            from Defendant or their agent/s and/or employee/s to said person’s cellular
              telephone made through the use of any automatic telephone dialing system within
22
22            the four years prior to the filing of the Complaint where the Defendant obtained
              the cellular telephone number from a third party and not the called party.
23
23
24
24            Class B: All persons within the United States who received any telephone calls
              from Defendant or their agent/s and/or employee/s to said person’s cellular
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25            telephone made through the use of any automatic telephone dialing system within
              the four years prior to the filing of the Complaint where the called party was not
26
26            the person Defendant was trying to reach.
27
27
     CLASS ACTION COMPLAINT                                                                   THOMAS MCAVITY
28                                                                                      2225 NE ALBERTA, STE A
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     Case 4:14-cv-05114-TOR           ECF No. 1      filed 10/22/14     PageID.19 Page 5 of 8



 1          28.      Defendant and its employees or agents are excluded from the Classes. Plaintiff does
 2   not know the number of members in the Classes, but believes the Class members number in the
 3
     several thousands, if not more. Thus, this matter should be certified as a class action to assist in the
 4
     expeditious litigation of this matter.
 5
            29.      This suit seeks only damages and injunctive relief for recovery of economic injury on
 6
 7   behalf of the Classes, and it expressly is not intended to request any recovery for personal injury and

 8   claims related thereto. Plaintiff reserves the right to modify or expand the Class definitions to seek
 9   recovery on behalf of additional persons as facts are learned through further investigation and
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10
     discovery.
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11
     B. Numerosity
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13          30.      Upon information and belief, Defendant has placed automated calls to cellular

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14   telephone numbers belonging to thousands of consumers throughout the United States without their

15
15   prior express consent. The members of the Classes, therefore, are believed to be so numerous that
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     joinder of all members is impracticable.
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            31.      The exact number and identities of the Class members are unknown at this time and
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     can only be ascertained through discovery. Identification of the Class members is a matter capable of
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20   ministerial determination from Defendant’s call records.

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21   C. Common Questions of Law and Fact
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22          32.      There are questions of law and fact common to the Classes that predominate over any
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     questions affecting only individual Class members. These questions include:
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                    a. Whether Defendant made non-emergency calls to Plaintiff and Class members’
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25
                        cellular telephones using an ATDS;
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26
27
27                  b. Whether Defendant can meet its burden of showing it obtained prior express
     CLASS ACTION COMPLAINT                                                                   THOMAS MCAVITY
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     Case 4:14-cv-05114-TOR             ECF No. 1       filed 10/22/14   PageID.20 Page 6 of 8



 1                         consent to make each call;
 2                   c. Whether Defendant’s conduct was knowing willful, and/or negligent;
 3
                     d. Whether Defendant is liable for damages, and the amount of such damages; and
 4
                     e. Whether Defendant should be enjoined from such conduct in the future.
 5
             33.     The common questions in this case are capable of having common answers. If
 6
 7   Plaintiff’s claim that Defendant routinely places automated calls to telephone numbers assigned to

 8   cellular telephone services is accurate, Plaintiff and the Class members will have identical claims
 9   capable of being efficiently adjudicated and administered in this case.
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10
     D. Typicality
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             34.     Plaintiff’s claims are typical of the claims of the Class members, as they are all based
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13
13   on the same factual and legal theories.

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14   E. Protecting the Interests of the Class Members

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15           35.     Plaintiff will fairly and adequately protect the interests of the Classes and has retained
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     counsel experienced in handling class actions and claims involving unlawful business practices.
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17
     Neither Plaintiff nor his counsel has any interests which might cause them not to vigorously pursue
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18
     this action.
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20   F. Proceeding Via Class Action is Superior and Advisable

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21           36.     A class action is the superior method for the fair and efficient adjudication of this
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22   controversy. The interest of Class members in individually controlling the prosecutions of separate
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     claims against Bluestem is small because it is not economically feasible for Class members to bring
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24
     individual actions.
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25
             37.     Management of this class action is unlikely to present any difficulties. Several courts
26
26
27
27   have certified classes in TCPA actions. These cases include, but are not limited to: Mitchem v. Ill.
     CLASS ACTION COMPLAINT                                                                   THOMAS MCAVITY
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     Case 4:14-cv-05114-TOR          ECF No. 1      filed 10/22/14     PageID.21 Page 7 of 8



 1   Collection Serv., 271 F.R.D. 617 (N.D. Ill. 2011); Sadowski v. Med1 Online, LLC, 2008 WL 2224892
 2   (N.D. Ill., May 27, 2008); CE Design Ltd. V. Cy’s Crabhouse North, Inc., 259 F.R.D. 135 (N.D. Ill.
 3
     2009); Lo v. Oxnard European Motors, LLC, 2012 WL 1932283 (S.D. Cal., May 29, 2012).
 4
                                                  COUNT I
 5                    Negligent Violations of the Telephone Consumer Protection Act,
                                           47 U.S.C. § 227, et seq.
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 7           38.    Plaintiff repeats and realleges the above paragraphs of this Complaint and

 8   incorporates them herein by reference.
 9           39.    Defendant negligently placed multiple automated calls to cellular numbers belonging
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     to Plaintiff and the other members of the Classes without their prior express consent.
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11
             40.    Each of the aforementioned calls by Defendant constitutes a negligent violation of the
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12
     TCPA.
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14           41.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff and the Classes

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15   are entitled to an award of $500.00 in statutory damages for each call in violation of the TCPA
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16   pursuant to 47 U.S.C. § 227(b)(3)(B).
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             42.    Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief
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     prohibiting such conduct by Defendant in the future.
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20                                              COUNT II
                Knowing and/or Willful Violations of the Telephone Consumer Protection Act,
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21                                        47 U.S.C. § 227, et seq.

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22           43.    Plaintiff repeats and realleges the above paragraphs of this Complaint and
23
23   incorporates them herein by reference.
24
24
             44.    Defendant knowingly and/or willfully placed multiple automated calls to cellular
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25
     numbers belonging to Plaintiff and the other members of the Classes without their prior express
26
26
     consent.
27
27
     CLASS ACTION COMPLAINT                                                                  THOMAS MCAVITY
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     Case 4:14-cv-05114-TOR            ECF No. 1      filed 10/22/14     PageID.22 Page 8 of 8



 1          45.       Each of the aforementioned calls by Defendant constitutes a knowing and/or willful
 2   violation of the TCPA.
 3
            46.       As a result of Defendant’s knowing and/or willful violations of the TCPA, Plaintiff
 4
     and the Classes are entitled to an award of treble damages up to $1,500.00 for each call in violation
 5
     of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 6
 7          47.       Additionally, Plaintiff and the Classes are entitled to and seek injunctive relief

 8   prohibiting such conduct by Defendant in the future.
 9                                           PRAYER FOR RELIEF
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10
            WHEREFORE, Plaintiff prays that the Court grant Plaintiff and the Classes the following
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11
     relief against Defendant:
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12
13
13                1. Injunctive relief prohibiting such violations of the TCPA by Defendant in the future;

14
14                2. Statutory damages of $500.00 for each and every call in violation of the TCPA pursuant

15
15                   to 47 U.S.C. § 227(b)(3)(B);
16
16
                  3. Treble damages of up to $1,500.00 for each and every call in violation of the TCPA
17
17
                     pursuant to 47 U.S.C. § 227(b)(3)(C);
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18
                  4. An award of attorney’s fees and costs to counsel for Plaintiff and the Classes; and
19
19
20
20                5. Such other relief as the Court deems just and proper.

21
21                        TRIAL BY JURY DEMANDED ON ALL COUNTS
22
22   Dated: October 22, 2014
23
23
24
24                                                            By: _Tom McAvity
                                                             Thomas McAvity, WSBA# 35197
25
25                                                           Northwest Debt Relief Law Firm
26
26                                                           2225 NE Alberta Suite A
                                                             Portland, OR 97211
27
27                                                           206-674-4559
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